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                          UNITED STATES DISTRICT COURT

                                 Northern District of New York

                                      6th Judicial Division



_______________________________________
                                       )
JANE DOE, JOHN DOE                      )
                                       )                      Case No.3:24-cv-274 (MAD/ML)
                                       )
                     Plaintiffs         )
                                       )
          -against-                    )
                                       )                      DECLARATION OF
                                       )                      JOHN DOE
                                       )
                                       )
JONATHAN REES aka GREG ELLIS           )
aka JOHNATHAN REES aka JONNY REES      )
aka JACOB LORENZO                      )
                                       )
                    Defendant          )
______________________________________ )



DECLARATION OF JOHN DOE IN SUPPORT OF ENTRY FOR DEFAULT
JUDGMENT


I, JOHN DOE, declare under penalty of perjury that the foregoing is true and correct:

I am the Plaintiff in the above-captioned action and submit this Declaration in support of

Plaintiffs entry for Default Judgment against Defendant Jonathan Rees aka Greg Ellis aka

Johnathan Rees aka Jonny Rees aka Jacob Lorenzo.




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Executed on May 9th, 2025

                                         _______________________

                                        John Doe

                                        Plaintiff




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